
982 A.2d 362 (2009)
411 Md. 163
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Cecilia HOOVER-HANKERSON, Respondent.
Misc. Docket AG No. 18, September Term, 2005.
Court of Appeals of Maryland.
October 19, 2009.

ORDER
This matter came before the Court on the Joint Petition for Disbarment by Consent submitted by the Attorney Grievance Commission of Maryland, Petitioner, and Cecilia Hoover-Hankerson, Respondent, The Court having considered the Petition, it is this 19th day of October 2009,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Cecilia Hoover-Hankerson, be, and she is hereby, disbarred from the practice of law pending further Order of this Court.
*363 ORDERED, that the Clerk of this Court shall strike the name of Ceclia Hoover-Hankerson from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
